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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :         Case No. 23-cr-231 (ACR)
       v.                                      :
                                               :
CAMERON CAMPANELLA,                            :
                                               :
                Defendant                      :

                      GOVERNMENT’S NOTICE OF FILING OF
                 EXHIBITS PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibits that were provided to the Court and defense

counsel via USAfx, in relation its sentencing memorandum (ECF No. 32). These exhibits will be

offered into evidence during the sentencing hearing scheduled for January 23, 2024.

       The proposed exhibits are as follows:

       1.       Government’s Exhibit 1 is an open-source video filmed outside of the U.S. Capitol

building on January 6, 2021. The video is approximately 20 seconds long.

       2.       Government’s Exhibit 2 is an open-source video filmed in the Upper West Terrace

of the U.S. Capitol building on January 6, 2021. The video is approximately 12 seconds long.

       3.       Government’s Exhibit 3 is a video the defendant filmed using his cellphone while

on the Upper West Terrace of the U.S. Capitol building on January 6, 2021. The video is

approximately 40 seconds long.

       4.       Government’s Exhibit 4 is a clip from CCV footage in the U.S. Capitol building

near the Senate Wing Door. The clip is approximately 4 minutes long. The events depicted

occurred between approximately 2:59 p.m. EST and 3:03 p.m. EST on January 6, 2021.



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       5.       Government’s Exhibit 5 is a video the defendant filmed using his cellphone while

exiting the U.S. Capitol through the Senate Wing Door on January 6, 2021. The video is

approximately 40 seconds long.



                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney

                                     By:     s/ Anna Z. Krasinski
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